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                          EXHIBIT 1
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                                                                MODEL S
                                                                MODEL X
                                            USED VEHICLE EXTENDED
                                                LIMITED WARRANTY

                                                                     U.S. AND CANADA
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          TESLA    TESLA MOTORS        TESLA    MODEL S           MODEL X
                                       ROADSTER MODEL 3
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              General Warranty Provisions

       Tesla, Inc. (“Tesla”) will provide repairs to the used vehicle during the applicable warranty period in
       accordance with the terms, conditions and limitations defined in this Tesla Used Vehicle Extended
       Limited Warranty.

       Who is the Warrantor?
       Vehicles registered in the U.S.:
       Tesla, Inc.
       3500 Deer Creek Road
       Palo Alto, California
       Attention: Vehicle Service
       Phone number: 1-877-79-TESLA (1-877-798-3752)
       Vehicles registered in Canada:

       Tesla Motors Canada ULC
       1325 Lawrence Ave East
       Toronto, ON M3A 1C6
       Attention: Vehicle Service
       Phone number: 1-877-79-TESLA (1-877-798-3752)


       What Vehicles are Covered?
       This Tesla Used Vehicle Extended Limited Warranty applies to the used vehicle sold by Tesla in the
       Tesla North America Warranty Region. For purposes of this Tesla Used Vehicle Extended Limited
       Warranty, the Tesla North America Warranty Region is defined as all 50 states of the United States
       of America, the District of Columbia, and all 13 provinces and territories of Canada, provided that
       you return to the North America Warranty Region in order to receive warranty service. Any
       subsequent purchasers or transferees must return to the North America Warranty Region in order
       to obtain warranty service regardless of the country in which such purchaser or transferee may
       have purchased the vehicle.

       Multiple Warranty Conditions
       This Tesla Used Vehicle Extended Limited Warranty contains warranty terms and conditions that
       may vary depending on the part or system covered. A warranty for specific parts or systems is
       governed by the coverage set forth in that warranty section as well as other provisions in this
       Tesla Used Vehicle Extended Limited Warranty.

       Limitations and Disclaimers
       THE ORIGINAL NEW VEHICLE LIMITED WARRANTY AND THIS TESLA USED VEHICLE
       EXTENDED LIMITED WARRANTY ARE THE ONLY EXPRESS WARRANTIES MADE IN
       CONNECTION WITH YOUR TESLA VEHICLE. Implied and express warranties and conditions
       arising under applicable state or provincial laws or federal statute or otherwise in law or in equity,
       if any, including, but not limited to, implied warranties and conditions of merchantability or
       merchantable quality, fitness for a particular purpose, durability, or those arising by a course of
       dealing or usage of trade, are disclaimed to the fullest extent allowable by law, or limited in
       duration to the term of this Tesla Used Vehicle Extended Limited Warranty. Some states or
       provinces do not allow limitations on implied warranties or conditions and/or how long an implied
       warranty or condition lasts, so the above limitations may not apply to you.
       THE PERFORMANCE OF NECESSARY REPAIRS AND PARTS REPLACEMENT BY TESLA IS THE
       EXCLUSIVE REMEDY UNDER THIS TESLA USED VEHICLE EXTENDED LIMITED WARRANTY OR
       ANY IMPLIED WARRANTIES. Tesla does not authorize any person or entity to create for it any
       other obligations or liability in connection with this Tesla Used Vehicle Extended Limited Warranty.
       The decision of whether to repair or replace a part or to use a new, reconditioned, or
       remanufactured part will be made by Tesla, in its sole discretion.



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                                              General Warranty Provisions


           Arbitration of Disputes (U.S. Only)
           Any dispute, claim or controversy between you and Tesla arising out of, or related to, this Tesla
           Used Vehicle Extended Limited Warranty is subject to binding arbitration on an individual basis in
           accordance with the terms of the arbitration provision in your Tesla Vehicle Purchase Agreement.

           Your Rights Under State Law
           This Tesla Used Vehicle Extended Limited Warranty gives you specific legal rights. You may also
           have other rights that vary from state to state.

           Ownership Transfer
           This Tesla Used Vehicle Extended Limited Warranty is transferable at no cost to any person(s) who
           subsequently and lawfully assume(s) ownership of the vehicle after the used vehicle purchaser
           within the described limitations of this Tesla Used Vehicle Extended Limited Warranty
           (“subsequent purchaser”).

           Who Can Enforce this Tesla Used Vehicle Extended Limited Warranty?
           The used vehicle purchaser, or subsequent purchaser, of a used Tesla vehicle sold in the Tesla
           North America Warranty Region, titled or registered in the name of the used vehicle purchaser, or
           subsequent purchaser, according to the laws of the 50 states of the United States of America, the
           District of Columbia, or Canada, can enforce this Tesla Used Vehicle Extended Limited Warranty,
           subject to the terms of this Tesla Used Vehicle Extended Limited Warranty.

           When Does the Warranty Period Begin and End?
           This Tesla Used Vehicle Extended Limited Warranty begins on the first day and at the mileage a
           used vehicle is delivered to the used vehicle purchaser. This Tesla Used Vehicle Extended Limited
           Warranty supersedes and replaces the original New Vehicle Limited Warranty's Basic Vehicle
           Limited Warranty and Supplemental Restraint System (“SRS”) Limited Warranty, and provides
           coverage for the period based on the specified warranty as described in the section Warranty
           Coverage on page 4. Parts repaired or replaced, including replacement of the vehicle, under this
           Tesla Used Vehicle Extended Limited Warranty, are covered only until the applicable warranty
           period of this Tesla Used Vehicle Extended Limited Warranty ends, or as otherwise provided by
           applicable law.




   General Warranty Provisions                                                                                  3
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             Warranty Coverage

       This Tesla Used Vehicle Extended Limited Warranty supersedes and replaces the terms of the
       original New Vehicle Limited Warranty's Basic Vehicle Limited Warranty and SRS Limited
       Warranty, each as described below. This Tesla Used Vehicle Extended Limited Warranty does not
       extend or otherwise alter the terms of the Battery and Drive Unit Limited Warranty for the used
       vehicle specified in the original New Vehicle Limited Warranty.
       The exclusive remedy available to you under this Tesla Used Vehicle Extended Limited Warranty is
       the repair or replacement of new or re-manufactured parts by Tesla for the covered defects.
       Subject to the exclusions and limitations described in this Tesla Used Vehicle Extended Limited
       Warranty, such repair or parts replacement will be performed without cost to you by Tesla when
       Tesla is notified of the covered defect within the applicable warranty period. Repairs will be
       performed using new or remanufactured parts at the sole discretion of Tesla. All replaced parts or
       other components are the exclusive property of Tesla unless otherwise provided under applicable
       law.

       Basic Vehicle Limited Warranty
       Subject to separate coverage for certain parts and the exclusions and limitations described in this
       Tesla Used Vehicle Extended Limited Warranty, the Basic Vehicle Limited Warranty covers the
       repair or replacement necessary to correct defects in the materials or workmanship of any parts
       manufactured or supplied by Tesla that occur under normal use for an incremental period of 2
       years or up to 100,000 miles (160,000 km), whichever comes first, from the first day and at the
       mileage a used vehicle is delivered to the purchaser, irrespective of the expiration date or mileage
       of the Basic Vehicle Limited Warranty specified in the original New Vehicle Limited Warranty.

       Supplemental Restraint System (SRS) Limited Warranty
       Subject to the exclusions and limitations described in this Tesla Used Vehicle Extended Limited
       Warranty, the SRS Limited Warranty covers the repair or replacement necessary to correct defects
       in the materials or workmanship of the vehicle’s seat belts or air bag system manufactured or
       supplied by Tesla that occur under normal use for an incremental period of 2 years or 100,000
       miles (160,000 km), whichever comes first, from the first day and at the mileage a used vehicle is
       delivered to the purchaser, irrespective of the expiration date or mileage of the SRS Limited
       Warranty specified in the original New Vehicle Limited Warranty.




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                                                    Exclusions and Limitations


           Warranty Limitations
           This Tesla Used Vehicle Extended Limited Warranty does not cover any vehicle damage or
           malfunction directly or indirectly caused by, due to or resulting from normal wear or deterioration,
           abuse, misuse, negligence, accident, improper maintenance, operation, storage or transport,
           including, but not limited to, any of the following:
           •   Failure to take the vehicle to, or make repairs or service recommended by, a Tesla Service
               Center or Tesla authorized repair facility upon discovery of a defect covered by this Tesla Used
               Vehicle Limited Warranty;
           •   Accidents, collisions, or objects striking the vehicle;
           •   Any repair, alteration or modification of the vehicle, or the installation or use of fluids, parts or
               accessories, made by a person or facility not authorized or certified to do so;
           •   Improper repair or maintenance, including use of fluids, parts or accessories other than those
               specified in your owner documentation;
           •   Towing the vehicle;
           •   Improper winch procedures;
           •   Theft, vandalism, or riot;
           •   Driving off-road (applies only to Model S);
           •   Driving over uneven, rough, damaged or hazardous surfaces, including but not limited to,
               curbs, potholes, unfinished roads, debris, or other obstacles, or in competition, racing or
               autocross or for any other purposes for which the vehicle is not designed;
           •   Overloading the vehicle;
           •   Fire, explosion, earthquake, windstorm, lightning, hail, flood, or deep water;
           •   Using the vehicle as a stationary power source; and,
           •   The environment or an act of God, including, but not limited to, exposure to sunlight, airborne
               chemicals, tree sap, animal or insect droppings, road debris (including stone chips), industry
               fallout, rail dust, salt, hail, floods, wind storms, acid rain, fire, water, contamination, lightning
               and other environmental conditions.

           Additional Limitations and Exclusions
           In addition to the above exclusions and limitations, this Tesla Used Vehicle Extended Limited
           Warranty does not cover any of the following:
           •   Any corrosion or paint defects including, but not limited to, the following:
               •    Corrosion from defects in non-Tesla manufactured or supplied materials or workmanship
                    causing perforation (holes) in body panels or the chassis from the inside out;
               •    Surface or cosmetic corrosion causing perforation in body panels or the chassis from the
                    outside in, such as stone chips or scratches; and,
               •    Corrosion and paint defects caused by, due to or resulting from accidents, paint matching,
                    abuse, neglect, improper maintenance or operation of the vehicle, installation of an
                    accessory, exposure to chemical substances, or damages resulting from an act of God or
                    nature, fire, or improper storage;
           •   Non-genuine Tesla parts or accessories or their installation, or any damage directly or
               indirectly caused by, due to or resulting from the installation or use of non-genuine Tesla parts
               or accessories:
           •   Certain individual items associated with the vehicle, including, but not limited to the tires,
               Mobile Connector, High Power Wall Connector, any future connectors, and related charging
               adapters, which have separate warranties subject to their own terms and conditions;
           •   Windshield or window glass that is broken, chipped, scratched, or cracked, other than as a
               result of a defect in material or workmanship of a Tesla manufactured or supplied windshield
               or window glass;




   Exclusions and Limitations                                                                                          5
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               Exclusions and Limitations

       •   General appearance or normal noise and vibration, including, but not limited to, brake squeal,
           general knocks, creaks, rattles, and wind and road vibration; and
       •   Maintenance services, including, but not limited to, the following:
           •   Standard 12 month or 12,500 mile (20,000 km) service and diagnostics checks;
           •   Wheel alignment or balancing;
           •   Appearance care (such as cleaning and polishing); and,
           •   Expendable maintenance items (wiper blades/inserts, brake pads/linings, filters, etc.).

       Voided Warranty
       You are responsible for the proper operation of the vehicle and for receiving and maintaining
       detailed and accurate records of your vehicle’s maintenance, including the 17-digit Vehicle
       Identification Number (“VIN”), servicing center name and address, mileage, date of service or
       maintenance and description of service or maintenance items, which should be transferred to
       each subsequent purchaser. You may void this Tesla Used Vehicle Extended Limited Warranty if
       you do not follow the specific instructions and recommendations regarding the use and operation
       of the vehicle provided in your vehicle's owner documentation, including, but not limited to:
       •   Installing the vehicle's software updates after notification that there is an update available;
       •   Complying with any recall advisories;
       •   Carrying passengers and cargo within specified load limits; and,
       •   Making all repairs.
       Although Tesla does not require you to perform all service or repairs at a Tesla Service Center or
       Tesla authorized repair facility, this Tesla Used Vehicle Extended Limited Warranty may be voided
       or coverage may be excluded due to improper maintenance, service or repairs. Tesla Service
       Centers and Tesla authorized repair facilities have special training, expertise, tools and supplies
       with respect to your vehicle and, in certain cases, may employ the only persons or be the only
       facilities authorized or certified to work on certain parts of your vehicle. Tesla strongly
       recommends that you have all maintenance, service and repairs done at a Tesla Service Center or
       Tesla authorized repair facility in order to avoid voiding, or having coverage excluded under, this
       Tesla Used Vehicle Extended Limited Warranty.
       The following will also void this Tesla Used Vehicle Extended Limited Warranty:
       •   Vehicles that have had the VIN defaced or altered or the odometer or other related system
           disconnected, altered or rendered inoperative so that it is difficult to determine the VIN
           number or actual mileage;
       •   Vehicles that have been labeled or branded as dismantled, fire-damaged, flood-damaged,
           junk, rebuilt, salvage, reconstructed, irreparable or a total loss; and,
       •   Vehicles that have been determined to be a total loss by an insurance company.

       Damages
       Tesla hereby disclaims any and all indirect, incidental, special and consequential damages arising
       out of or relating to your vehicle, including, but not limited to, transportation to and from a Tesla
       Service Center, loss of vehicle value, loss of time, loss of income, loss of use, loss of personal or
       commercial property, inconvenience or aggravation, emotional distress or harm, commercial loss
       (including but not limited to lost profits or earnings), towing charges, bus fares, vehicle rental,
       service call charges, gasoline expenses, lodging expenses, damage to tow vehicle, and incidental
       charges such as telephone calls, facsimile transmissions, and mailing expenses.
       Tesla shall not be liable for any direct damages in an amount that exceeds the fair market value of
       the vehicle at the time of the claim.
       The above limitations and exclusions shall apply whether your claim is in contract, tort (including
       negligence and gross negligence), breach of warranty or condition, misrepresentation (whether
       negligent or otherwise) or otherwise at law or in equity, even if Tesla is advised of the possibility




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                                                 Exclusions and Limitations

         of such damages or such damages are reasonably foreseeable. Some states or provinces do not
         allow the exclusion or limitation of indirect, direct, special, incidental or consequential damages,
         so the above limitations or exclusions may not apply to you.




 Exclusions and Limitations                                                                                     7
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           Obtaining Warranty Service

     To obtain warranty service, you must notify Tesla within the applicable warranty period, and
     deliver the vehicle, at your expense (except where Tesla is obligated to undertake towing), during
     regular business hours to a Tesla Service Center of your choice. The location of the nearest Tesla
     Service Center may be obtained at www.tesla.com.Although the location of Tesla Service Centers
     are subject to change at any time, an up-to-date list is maintained at www.tesla.com.
     Please be prepared to provide the VIN, which is located on the upper dashboard on the driver’s
     side of the vehicle and visible through the windshield and is also available on the vehicle
     registration and title documentation, current mileage and a description of the defect when you
     contact Tesla.
     In the event of a change of your address, please contact Tesla at the address or phone number
     specified in the of this Tesla Used Vehicle Extended Limited Warranty titled Who is the
     Warrantor?.

     Payment of Tax for Repairs
     Some jurisdictions and/or local governments may require that tax be collected on warranty
     repairs. Where applicable law allows, you are responsible for payment of these taxes.

     Reasonable Time for Repairs
     You must allow Tesla a reasonable time for completion of repairs and/or service, as estimated and
     communicated to you in writing by Tesla. Upon notification by Tesla of the completion of the
     vehicle repairs and/or service, you are responsible for immediately picking up the vehicle, at your
     own expense.

     Roadside Assistance (North America)
     Tesla Roadside Assistance is a service intended to minimize inconvenience when your Tesla vehicle
     is inoperable. This service is available to you 24/7 by calling 877-798-3752. For vehicle
     malfunctions due to warrantable issues, transportation services, provided by Roadside Assistance,
     are covered by Tesla for the first 500 miles (800 km) to the nearest Tesla Service Center. You are
     responsible for transportation costs beyond 500 miles (800 km) or any additional transportation
     from such locations to any additional location. The vehicle must be covered by the New Vehicle
     Limited Warranty or the Tesla Used Vehicle Extended Limited Warranty and located in the North
     America Region at the time Roadside Assistance is requested. Flat tires are not covered under
     warranty; however Tesla will cover the cost of a tow, provided by Roadside Assistance, for the first
     50 miles (80 km) to the nearest Tesla Service Center, provided the vehicle is covered by the New
     Vehicle Limited Warranty or the Tesla Used Vehicle Extended Limited Warranty. The cost of
     towing for a flat tire beyond 50 miles (80 km) and the cost of the replacement tire(s) are at your
     expense. Note that Roadside Assistance services are provided under a separate Roadside
     Assistance policy, and are not provided under the New Vehicle Limited Warranty or the Tesla Used
     Vehicle Extended Limited Warranty. Refer to the Roadside Assistance policy for full details and
     disclosures.

     Modifications and Waivers
     No person or entity, including, but not limited to, a Tesla employee or authorized representative,
     can modify or waive any part of this Tesla Used Vehicle Extended Limited Warranty. Tesla may
     occasionally offer to pay a portion or all of the cost of certain repairs that are no longer covered
     by this Tesla Used Vehicle Extended Limited Warranty for specific vehicles, which some states
     refer to as “adjustment programs.” In such circumstances, Tesla will notify all known registered
     owners of affected vehicles. You may also inquire to Tesla directly regarding any applicability of
     such programs to your vehicle. Tesla may also occasionally offer to pay a portion or all of the cost
     of certain vehicle repairs that are no longer covered by this Tesla Used Vehicle Extended Limited
     Warranty on an ad hoc case-by-case basis. Tesla reserves the right to do the above and to make
     changes to vehicles manufactured or sold by Tesla and the applicable warranties, at any time,



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                                   #:465
                                             Obtaining Warranty Service

         without incurring any obligation to make the same or similar payment or changes for vehicles
         Tesla previously manufactured or sold, or applicable warranties including this Tesla Used Vehicle
         Extended Limited Warranty. Nothing herein shall imply that any Tesla vehicle is free of defects.




 Obtaining Warranty Service                                                                                  9
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             Warranty Enforcement Laws and Dispute
             Resolution
      The Magnuson-Moss Warranty Act is the federal law which governs this Tesla Used Vehicle
      Extended Limited Warranty. Many jurisdictions have laws, commonly called “Lemon Laws,” that
      provide you with certain rights if you have problems with your new vehicle. These laws vary
      depending on the state, province or territory. Your new vehicle and its safety items comply with
      applicable provincial and territorial motor vehicle laws.
      To the fullest extent allowed by the law of your jurisdiction, Tesla requires that you first provide
      Tesla, during the applicable warranty period specified in this Tesla Used Vehicle Extended Limited
      Warranty, with written notification of any defects you have experienced within a reasonable time
      to allow Tesla an opportunity to make any needed repairs before you pursue any remedy under
      these laws.
      Please send your written notification to:
      Vehicles registered in the U.S.:
      Tesla, Inc.
      3500 Deer Creek Road
      Palo Alto, California
      Attention: Vehicle Service
      Phone number: 1-877-79-TESLA (1-877-798-3752)

      Vehicles registered in Canada:
      Tesla Motors Canada ULC
      1325 Lawrence Ave East
      Toronto, ON M3A 1C6
      Attention: Vehicle Service
      Phone number: 1-877-79-TESLA (1-877-798-3752)

      Please include the following information:
      •   Your name and contact information;
      •   VIN;
      •   Name and location of the Tesla Store and/or Tesla Service Center nearest you;
      •   Vehicle delivery date;
      •   Current mileage;
      •   Description of the defect; and
      •   History of the attempts you have made with a Tesla Store or a Tesla representative to resolve
          the concern, or of any repairs or services that were not performed by a Tesla Service Center or
          Tesla authorized repair facility.

      Dispute Resolution (Canada Only)
      The description provided in the following sections summarize the dispute settlement program
      administered by NCDS and applies to U.S. customers only. Customers with vehicles registered in
      Canada will be referred by NCDS to the Canadian Motor Vehicle Arbitration Program (“CAMVAP”)
      and subject to CAMVAP procedures and remedies, which differ from those described in the
      following section. The dispute settlement program may be changed at any time without prior
      notice. Contact NCDS at the below listed address or phone number for the most current
      information concerning the dispute settlement program.

      Dispute Resolution (U.S. Only)
      In the event any disputes, differences or controversies arise between you and Tesla related to this
      Tesla Used Vehicle Extended Limited Warranty, Tesla will explore all possibilities for an amicable
      settlement. In case an amicable settlement is not reached, Tesla offers a dispute settlement
      program that proceeds in two steps.
      First, if you choose, you may submit your dispute to an optional dispute settlement program
      through the National Center for Dispute Settlement (“NCDS”).



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                  Warranty Enforcement Laws and Dispute
                                             Resolution
         Second, if you prefer not to submit your dispute to the NCDS, or if you are not satisfied with the
         outcome of the NCDS procedure, you agree to resolve your dispute with Tesla through binding
         arbitration or small claims court under the terms of the Agreement to Arbitrate in your Vehicle
         Purchase Agreement.

         Optional Dispute Resolution Through the National Center for Dispute
         Settlement (NCDS) (U.S. Only)
         In the event that an amicable settlement is not reached, Tesla offers an optional dispute
         settlement program through:
         NATIONAL CENTER FOR DISPUTE SETTLEMENT (“NCDS”)
         P.O. Box 526
         Mt. Clemens, MI 48046
         1-866-629-3204

         This dispute settlement program administered by NCDS is free of charge to you and is conducted
         by local NCDS professionals who are trained and experienced in mediation and arbitration.
         NCDS resolves disputes involving this Tesla Used Vehicle Extended Limited Warranty which arise
         during the applicable warranty period specified in this Tesla Used Vehicle Extended Limited
         Warranty. However, NCDS will not arbitrate claims involving a vehicle used primarily for
         commercial purposes unless the “Lemon Law” of your state covers (1) vehicles used for
         commercial purposes or (2) claims that an air bag failed to deploy or deployed when it should not
         have. You must file a request for arbitration with NCDS within 60 days (or 6 months in certain
         jurisdictions) of the expiration of the applicable warranty period, provided you sent written notice
         to Tesla, as specified above, of the alleged defect during the applicable warranty period.
         To initiate arbitration, you must contact NCDS at 1-866-629-3204 or P.O. Box 526, Mt. Clemens, MI
         48046, and complete an NCDS customer claim form and mail it to NCDS. Please also provide a
         copy of your written notification sent to Tesla and/or all information required in such notification
         specified above, your desired resolution, and all receipts if requesting reimbursement. Upon
         receipt of your request, NCDS will contact you regarding the status of your case and provide you
         with additional details about the program.
         NCDS may only resolve disputes between you and Tesla on an individual basis. In other words, you
         may initiate an arbitration against Tesla through NCDS only in your individual capacity and not as
         a plaintiff or class member in any class or representative action.
         When NCDS receives your request, it will be forwarded to Tesla for response. After analyzing all
         information pertaining to your case, NCDS will schedule a technical evaluation if applicable. If you
         request it, an oral hearing will be held prior to a decision being rendered. At this hearing, all
         evidence is admissible. After considering all testimony and documents, the arbitrator will review
         the applicable legal standards and render a decision. A settlement satisfactory to all parties may
         be negotiated at any time, including prior to or after the arbitrator’s decision.
         NCDS’s decision is binding on Tesla but not on you. If you accept NCDS’s decision, Tesla will
         comply with the decision in a reasonable time not to exceed 30 days after Tesla receives notice of
         your acceptance. Remedies include but are not limited to repairs; reimbursement for repairs and
         incidental expenses, such as transporting costs; and repurchase or replacement of your vehicle.
         NCDS decisions do not include attorney fees or punitive, multiple, or consequential damages,
         except incidental damages as required by applicable law.
         If you are not satisfied with the arbitrator’s decision or Tesla’s compliance, you may pursue your
         claim in binding arbitration on an individual basis in accordance with the arbitration provision in
         your Tesla Vehicle Purchase Agreement.

         Agreement to Binding Arbitration (U.S. Only)
         All disputes not resolved by NCDS will be arbitrated under the terms of the Agreement to
         Arbitrate in your Vehicle Purchase Agreement. Under that Agreement, you agreed to resolve



 Warranty Enforcement Laws and Dispute Resolution                                                               11
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             Warranty Enforcement Laws and Dispute
             Resolution
      disputes with Tesla by arbitration rather than by litigation in court. Please see the Vehicle Purchase
      Agreement for more details. If you prefer not to submit your dispute to NCDS, you may proceed
      directly to binding arbitration or small claims court under the terms of the Vehicle Purchase
      Agreement.




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